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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   TRENTON DIVISION
  __________________________________
  IN RE JOHNSON & JOHNSON                )            MDL NO. 3:16-md-2738 (MAS) (RLS)
  TALCUM POWDER PRODUCTS                 )
  MARKETING, SALES PRACTICES AND         )            JUDGE MICHAEL A. SHIPP
  PRODUCTS LIABILITY LITIGATION          )            MAG. JUDGE RUKHSANAH L. SINGH
                                         )
                                         )      RESPONSE TO APRIL 16, 2025
  __________________________________ )          ORDER TO SHOW CAUSE (DKT. 33664)
  THIS DOCUMENT RELATES TO:

  TAMBURELLO, JOANNE B, et al.            3:20-cv-00023
  ALLBACK, CLAIRE, et al.                 3:20-cv-00024
  LEONARDI, KAREN, et al.                 3:20-cv-00026
  BARAN, EMILIA, et al.                   3:20-cv-00072
  KYE, SHERRON, et al.                    3:20-cv-00073
  WAGNER, BARBARA, et al.                 3:20-cv-00084
  KHALID, SHAISTA, et al.                 3:20-cv-00085
  SKOUTELAS, VASILIKI, et al.             3:20-cv-00087
  SMOUDIANIS, CHRISTINE, et al.           3:20-cv-00092
  GONZALEZ, ANNE, et al.                  3:20-cv-00094
  BARTASI, MARC, et al.                   3:20-cv-00095
  FARMER-JORDAN, SHIRLEY, et al.          3:20-cv-00172
  WILSON, JOYCE M, et al.                 3:20-cv-00185
  LETKE, FRANK, et al.                    3:20-cv-00244
  BRIDGEWATER, DOW LEE, et al.            3:20-cv-00245
  MONTANEZ, ROLANDO, et al.               3:20-cv-00290
  DARR, GUY, et al.                       3:20-cv-00294
  DAVIS, ARTHUR, et al.                   3:20-cv-00326
  PATTIT, RONALD, et al.                  3:20-cv-00667
  DETORRE, ROBERT, et al.                 3:20-cv-00740
  PATRICIA, HAMILTON, et al.              3:20-cv-00804
  BARNSTORF, PAUL, et al.                 3:20-cv-01702
  KOLESAR, GAIL, et al.                   3:20-cv-01704
  MALANOSKI, ROSEMARIE, et al.            3:20-cv-01753
  WOOD, JAYNE A, et al.                   3:20-cv-02077
  SWEAT, KELLY ANN, et al.                3:20-cv-02269
  PEAY, TIFFANY, et al.                   3:20-cv-02281
  MEIROWITZ, CLIFFORD ALLEN, et al.       3:20-cv-02293
  NORTON JUNIOR, JOHN P, et al.           3:20-cv-02310
  FRANCIS, MICHAEL, et al.                3:20-cv-02312
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   ARNOLD, KATHRYN, et al.                  3:20-cv-02711
   FOSTER, THOMAS, et al.                   3:20-cv-02762
   RODRIGUEZ, KATHLEEN L, et al.            3:20-cv-03150
   HOLMES, GEORGE, et al.                   3:20-cv-05712
   AMENDOLA, RACHELLE, et al.               3:20-cv-05717
   SEVERINO, JEREMIAH D, et al.             3:20-cv-05723
   ROMANI, VIVIAN, et al.                   3:20-cv-05761
   BIBER, JOHN, et al.                      3:20-cv-05951
   COOPER, WILLIAM, et al.                  3:20-cv-06375
   DRZYMALA, WAYNE, et al.                  3:20-cv-07606
   RENFORD, TANYA, et al.                   3:20-cv-07607
   MAJCHER, CHRISTIE L, et al.              3:20-cv-07609
   VERA, ELIZABETH, et al.                  3:20-cv-08237
   BUFFAMONTI, MICHAEL, et al.              3:20-cv-08394
   MAGNANTI, JAMES, et al.                  3:20-cv-08711
   FILICETTI, KAREN, et al.                 3:20-cv-09525
   LOVELAND, NANCY JEAN, et al.             3:20-cv-09527
   ZURANSKI, KAREN, et al.                  3:20-cv-11171
   MAZGAJ, JOAN, et al.                     3:20-cv-11173
   LABARBERA, PHILIP CONRAD, et al.         3:20-cv-12390
   NAYSHLOS, IRINA, et al.                  3:20-cv-12391
   KISSOON, MOHABIR, et al.                 3:20-cv-12393
   CUTLIP, TERRA L, et al.                  3:20-cv-13069
   SUAREZ, PAUL, et al.                     3:20-cv-13112
  ____________________________________________________

  Come now the above captioned Plaintiffs by and through their undersigned counsel of record,

  and respectfully submit the following Response to the Court’s April 16, 2025, Order to Show Cause

  Why Cases on the Attached Exhibit A Should Not be Dismissed with Prejudice (Dkt. 33664).

  In Summary:

         1. There was no good-faith basis for Defendants’ Order to Show Cause as to these

             Plaintiffs.

         2. Defendants were timely and properly served with each and every one of these

             Plaintiffs’ PPFs via MDL Centrality over a year ago. (Exhibit A)
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         3. Defendants have been in possession of each and every one of these Plaintiffs’ PPFs

             for over a year.

         4. Defendants knew or should have known each and every one of these Plaintiffs

             timely and properly served their respective PPFs.

         5. Defendants either (a) made no effort to determine if any of these 54 Plaintiffs had

             served their PPFs or (b) inexplicably “missed” 54 PPFs Defendants had been served

             with a year ago or (c) simply did not care.

         6. Finally, Defendants failed to meet and confer which would have obviated the Order

             to Show cause for these Plaintiffs.

  As Noted Above:

  On May 25, 2024, each and every one of the Plaintiffs listed on the Order’s attached Exhibit A at

  Row ## 34-44, 46-53, 55-72, 74, 75, 77-91 (Dkt. 33664 at pp. 4-6) served Defendants with their

  Plaintiff Profile Forms via MDL Centrality pursuant the Plaintiff’s Profile Form (“PPF”) Order (Dkt.

  19911).

  Attached hereto as Exhibit A is a spreadsheet providing the Plaintiff ID in MDL Centrality and the

  “Original PPF Date” of PPF service for each and every Plaintiff should this Court or Defendants

  wish to confirm submission dates.

  Further, at no time did Defendants attempt to contact the undersigned to meet and confer in

  good faith as required by the Plaintiff’s Profile Form (“PPF”) Order.

  As such, regarding the Plaintiffs identified on the Order’s attached Exhibit A identified at Row ##

  34-44, 46-53, 55-72, 74, 75, 77-91, Plaintiffs respectfully request the denial the relief requested

  together with such other and further relief as deemed proper.
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  Dated: April 25, 2025                               Respectfully Submitted by,


                                                      GOLDSTEIN GRECO, P.C.

                                                      /s/ Brian A. Goldstein_____________
                                                      Brian A. Goldstein
                                                      Counsel for Plaintiffs
                                                      2354 Wehrle Drive
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                                  CERTIFICATE OF SERVICE



         I hereby certify that on April 25, 2025, I electronically filed the foregoing document with

  the Clerk of the Court using the CM/ECF system which will send the notification of such filing to

  all attorneys of record.




                                              /s/ Brian A. Goldstein           ___
